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                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

In Re

Linda M. Thake, aka                          Case No. 15-47508-659
Linda M. Mays, aka
Linda M. Buechner,                           Chapter 13            #51
Debtor.
                                             MOTION FOR RELIEF FROM THE
U.S. BANK TRUST NATIONAL                     AUTOMATIC STAY
ASSOCIATION, AS TRUSTEE OF
BUNGALOW SERIES F TRUST,                     MOVANT WAIVES 30 DAY HEARING
Movant.
                                             Hearing Date: January 22, 2018
v.                                           Hearing Time: 10:00 AM
                                             Courtroom 7 North
Linda M. Thake, aka
Linda M. Mays, aka                           Kozeny & McCubbin, LC
Linda M. Buechner,                           12400 Olive Blvd., Suite 555
Debtor,                                      St. Louis, MO 63141
                                             (314) 991-0255
and                                          edmo@km-law.com

Diana S. Daugherty, Trustee.
Respondents.



      ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

     Movant, U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF

BUNGALOW SERIES F TRUST, and its principals successors and assigns, having

commenced a Motion seeking the termination of the automatic stay with regard to 4058

Humphrey St, Saint Louis, MO 63116, and more particularly described as:




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  THE FOLLOWING DESCRIBED LOTS, TRACTS, OR PARCELS OF LAND,
LYING, BEING AND SITUATE IN THE COUNTY OF ST. LOUIS CITY, AND STATE
OF MISSOURI, TO WIT:

THE EASTERN 10 FEET OF LOT 16 AND THE WESTERN 20 FEET OF LOT 17 OF
RUSSELL PLACE AND IN BLOCK 4150 OF THE CITY OF ST. LOUIS, TOGETHER
FRONTING 30 FEET ON THE SOUTH LINE OF HUMPHREY STREET BY A DEPTH
SOUTHWARDLY OF 124 FEET 4 1/2 INCHES TO A 15 FOOT WIDE ALLEY.

BEING THAT PARCEL OF LAND CONVEYED TO LINDA MAYS, A MARRIED
PERSON, FROM LINDA THAKE, NKA LINDA MAYS, AND COSELLE MAYS,
HUSBAND AND WIFE, ACTING INDIVIDUALLY AND PURSUANT TO WAIVER OF
MARITAL RIGHTS/ASSENT AS TO EXECUTION OF DEED, BY THAT DEED DATED
08/25/2005 AND RECORDED 09/30/2005 IN DEED BOOK 9302005, AT PAGE 185
OF THE ST. LOUIS CITY, MO PUBLIC REGISTRY.

TAX MAP REFERENCE: 41500000400

COMMENTS: SCRIVENER`S ERROR AFFIDAVIT, RECORDED 11/15/2005, AT
BOOK 11152005, PAGE 195 TO CORRECT THE BLOCK NUMBER IN THE LEGAL
DESCRIPTION, AS IT APPEARS IN THE WARRANTY DEED RECORDED
05/13/2005, QUIT-CLAIM DEED RECORDED 09/30/2005, TWO DEEDS OF TRUST
RECORDED 09/30/2005, AND MARITAL WAIVER RECORDED 09/30/2005.

and it appearing that Movant is entitled to the relief requested in the motion, it is hereby

   ORDERED, that said Motion be and it is hereby GRANTED, in that Movant, and its

principals successors and assigns, are hereby authorized to immediately foreclose its

security interest in Debtor`s real estate as referenced above pursuant to the terms and

provisions of its deed of trust and the laws of Missouri pertaining thereto, and for such

purposes the stays of 11 U.S.C. Sec. 362 are hereby terminated. The recoverability of

any fees and costs associated with this motion shall be determined in accordance with

the contract agreement and applicable non-bankruptcy law.

   IT IS FURTHER ORDERED, that Movant, and its principals successors and assigns,

are hereby authorized to immediately pursue its state court remedies to recover



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                                           Respectfully submitted,

                                           /s/Jonathon B. Burford
                                           Jonathon B. Burford, #59337MO
                                           Attorneys for Movant
                                           12400 Olive Blvd., Suite 555
                                           St. Louis, MO 63141
                                           Phone: (314) 991-0255
                                           Fax: (314) 567-8019
                                           edmo@km-law.com


Copy mailed to:

Linda M. Thake
Debtor
4058 Humphrey St.
Saint Louis, MO 63116

Ross H. Briggs
Attorney for Debtor
4144 Lindell Blvd, Suite 202
St. Louis, MO 63108

Diana S. Daugherty
Trustee
PO Box 430908
St. Louis, MO 63143

U.S. Trustee
Office of the US Trustee
111 S. 10th St., Ste. 6.353
St. Louis, MO 63102


Jonathon B. Burford
Attorney for Movant
12400 Olive Blvd., Ste. 555
St. Louis, MO 63141




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                                                Certificate
                                               United Statesof Notice  Pg 5Court
                                                                Bankruptcy  of 5
                                               Eastern District of Missouri
In re:                                                                                                     Case No. 15-47508-kss
Linda M. Thake                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0865-4                  User: reik                         Page 1 of 1                          Date Rcvd: Jan 25, 2018
                                      Form ID: pdfo1                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 27, 2018.
db             +Linda M. Thake,   4058 Humphrey St.,   Saint Louis, MO 63116-3823

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 27, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 25, 2018 at the address(es) listed below:
              Diana S. Daugherty   standing_trustee@ch13stl.com, trust33@ch13stl.com
              Jonathon B. Burford   on behalf of Creditor   Seterus Inc edmo@km-law.com,
               Kozeny@ecf.courtdrive.com
              Jonathon B. Burford   on behalf of Creditor   US Bank Trust NA edmo@km-law.com,
               Kozeny@ecf.courtdrive.com
              Office of US Trustee   USTPRegion13.SL.ECF@USDOJ.gov
              Ross H. Briggs   on behalf of Debtor Linda M. Thake r-briggs@sbcglobal.net, rb04938@gmail.com
              Wendee Noel Elliott-Clement   on behalf of Creditor   Seterus Inc moedbknotices@southlaw.com
                                                                                            TOTAL: 6
